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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     In re Application of                                 Case No. 22-mc-80123-SVK
                                   8
                                         ALPINE PARTNERS, (BVI) L.P.,                         ORDER RE DISCOVERY DISPUTE
                                   9                                                          CONCERNING FEDERAL RULE OF
                                         Petitioner, for an Order Pursuant to 28              CIVIL PROCEDURE 30(b)(6)
                                  10                                                          DEPOSITION TOPICS
                                         U.S.C. § 1782 to Conduct Discovery for
                                  11     Use in a Foreign Proceeding.                         Re: Dkt. No. 53
                                  12
Northern District of California




                                              Before the Court is Petitioner Alpine Partners, (BVI) L.P. and Respondent Vivo Capital,
 United States District Court




                                  13
                                       LLC’s joint submission presenting a discovery dispute arising out of a Federal Rule of Civil
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                                       Procedure 30(b)(6) deposition subpoena issued by this Court pursuant to 28 U.S.C. Section 1782
                                  15
                                       in 2022. See Dkts. 35 (the “2022 Order”), 53 (the “Joint Submission”). The relevant, and
                                  16
                                       somewhat complex, background to the present dispute is set forth in the 2022 Order and
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                                       incorporated herein by reference. See 2022 Order at 2-3. In that order, the Court directed the
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                                       Parties, in part, to meet and confer to narrow overly broad deposition topics. See id. at 16. The
                                  19
                                       Parties return now to resolve a handful of remaining disagreements as to the relevance and breadth
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                                       of a handful of topics. The Court determines that this matter may be resolved without oral
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                                       argument. See Civil Local Rule 7-1(b).
                                  22
                                              Having considered with care the subpoena to Respondent (see Dkt. 53-1) and the revised
                                  23
                                       deposition topics (see Dkt. 53-3), the agreed-upon topics as referenced in the summary chart (see
                                  24
                                       Dkt. 53-5) and the arguments presented in the Joint Submission, the Court finds that, in several
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                                       respects, the deposition topics continue to suffer from deficiencies of relevance and are overly
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                                       burdensome in contravention of Rule 45(d)(1). However, certain topics, including portions of
                                  27
                                       topics 3(a), 4(d), 4(f) and 5(a) are appropriate in the context of this case.
                                  28
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                                   1          Accordingly, the Court ORDERS that, in addition to the topics already agreed upon,

                                   2   Respondent’s Rule 30(b)(6) witness shall provide testimony about information known or

                                   3   reasonably available to Respondent on the following topics:

                                   4         3(a): Respondent’s prior relationships with the Company, the Special Committee, and

                                   5          their advisors, including information Respondent received concerning the valuation of the

                                   6          Company or information concerning to the Merger.

                                   7         4(d): Respondent’s knowledge of any financial projections that were provided by the

                                   8          Company to the Buyer Group but not provided to the Special Committee and its advisors.

                                   9         4(f): Discussions Respondent had with the Company regarding their projections or

                                  10          analysis of the Company.

                                  11         5(a): Respondent’s involvement in the negotiation of the Merger Agreement and Merger

                                  12          Price, including Respondent’s communications with the Company and its financial advisor
Northern District of California
 United States District Court




                                  13          about the terms of the Merger Agreement.

                                  14          SO ORDERED.

                                  15   Dated: October 29, 2024

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                                                                                                     SUSAN VAN KEULEN
                                  18                                                                 United States Magistrate Judge
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